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 Unhd States Baxikn|ploy Coutl     fior,the:

                             Dlstrld of DelawET€
                                         (St lo)

 Gage nunlber p.*norin):                                         Chapter     {1                                                                   ,D Ctrect if ttlb'isan
                                                                                                                                                     amerded filing




Official Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                                                                  04fi9

lf morg space is needed, attach a separate shest to thls fornr, On ths top of any addltional pages, write the debtor's nams and lho caso
number 1if known). For more lnformatlon, a separate doc umant. lnslractions for Banhrupby Forms for Non'lndlvlduals,ls avallable.



t.   Debtor's name                                      Olam Energy Resources I LLC




z. All other   names debtor used
     in the last 8 years
     lnclude any assumed names,
     lrade names, and dolng Duslness
     as names




s.   Debtods federal EmPloYer                  47             366           077           0
     ldentlfication Number     (El N)




l.   Debtor's address                          Prlnclpal place of buslness                                   Malllng addros3, lf diftorent from prlncipal place
                                                                                                             of business

                                               280 East 96lh Street
                                               Numbor          Slroet                                        Number       Slreel


                                                Suite 210
                                                                                                             P.O. Box

                                               lndianapolis                       rN          46240
                                               Cily                               state       ZIP Code       City                         State         ZIP Code


                                                                                                             Locatlon ot prlnclpal assets, lf dlfforont from
                                                                                                             princlpal place of buslnesr
                                                Marion County
                                               Couniy
                                                                                                             Number       StrEot




                                                                                                             clty                         Slate         zlP code




o. Deblor's website        (URL)


                                               E      Corporation (including Limited Liability Company (LLC) and Limited Liabllity Partnership (LLP))
o. Type ofdebtor
                                               E      Partnership (excluding LLP)
                                               E      otner. Speciry:



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Official Form 201
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,Dsblor           Olarn Energy iResources I :LLC                                                          'Gaarnumbtl


                                         A.   Chaokonei:
z. Descrbeffito/ebustnoss
                                         El  neattr Care Buslness (as defined in 11 U,S'C. $ Xo1(z'lA))
                                         ,El Shgte Asset Real'Estale (as denned ln 1 I U.S"C- $ 101'(5180
                                         El narroad(ade'lined ln 11 U'S.C' $ 101(4'l))
                                         O  Stoc*ororer @s ttefined ln 11 U'S.C. S i01{53A)}
                                         El Cornrnodiiv Broksr (as delined in 11 U.S.C. S 101(6))
                                         E Cteartng Bank (as d€f,ned in 11 U'S.C. S 781t3D
                                         E     None ofthe above


                                         B. Check allthat        aPPIY:

                                         E Tax-exempt entity (as described in 26 U.S.C. S 501)
                                         E lnvestment company, includlng hedg6 fund or pooled inveslment                vehicle (as deftned in 15 U.S.C.
                                               s 80a-3)
                                         fl    lnveslment advisor (as defined in 15 U.S.C. $ 80b-2(a)(11)


                                                                                                                                                          See
                                         C. NAICS (North American lndustry Classitication System) 4-digit code that best describes debtor.
                                               http://www.uscourts.oov/four-diolt-national-associalion-nalcs-codes         '
                                                21         11

a.    Under which chapter of the         Check one:
      Bankruptcy Code is the             O     cnapter 7
      debtor liling?
                                         E     cnapter 9
                                         El Cnapter 11.          Check all that aPPIY
                                                                 O    Debtor's aggregate noncontingent llquidated debts (excluding debls owed to
                                                                                                                                                   on
                                                                     InsiOers or ifttiates) are less lhan $2,725,825 (amount subject to adjustment
                                                                     4t\1l22 and every 3 years afier that)'
                                                                 E    fne debtor is a small business deblor as delined in 1 1 U.S.C. S 101(51D). lf the
                                                                     debtor is a small businoss debtor, atlach the most recent balance sh€et, statement
                                                                     oioperations, cash-flow Etatemenl, and federal income tax return or if all of these
                                                                     doclments do not exist, follow lhe procedure in 1 1 U'S'C' $ 1 1 16(1XB)'

                                                                 E   n phn is being flled with this pelition.
                                                                 E   Acceptances of the plan were soliciled prepelilion from one or more classes of
                                                                     orediiors, in accordance with 11 U'S'C' $ 1126(b)'

                                                                 E   The debtor is required to fite periodic reports (for example, 1OK and 10Q) with lhe
                                                                     Securities and Eichange Commission according to S'13 or 15(d) of the Securlties
                                                                                                                                                            Filing
                                                                     excnange Aci of t S3a.-f ile me nffa chment to V-otuniary eetition_for Non'lndlviduals
                                                                     for Baniruptcy under Chapter 7 t (Ofiicial Form 201A) wlth this form'

                                                                 B   The debtor ls a shell company as defined in the Securities Exchange Act of 1934
                                                                                                                                                     Rule
                                                                     12b-2.

                                          E    chapter    12


 e.   Were prlor bankruPtcy cases         El   No
      filed by or against the debtor                                                                                    Caso numbsr
      within the last 8 Years?            E Yes.      Distriot                                 When
                                                                                                          MM/ DD/YYYY
      lf more than 2 cases, attach a                  District                                 When                     Cas6 numbsr
      Eeparate list.                                                                                      MM/ DD/YYYY


  ro. Are any bankruPtcY cases            O tto                                                           -
      pending or being filed bY a                                                                                                       Affiliate
      buslness Partner or an
                                          E Yes. Debto, see Annex                   1                                   Relationshlp
                                                                                                                                        See Annex     1

      afflllate of the debtor?                        Dlsirlct                 re                                       When
                                                                                                                                       MM_/-DD      /YYYY
       List all cases. lf more than 1'                                                  See Annex     1
                                                      Case number, lf known
       attach a separate list.
                                                                                                                                                    page 2
     Official Form 201                           Voluntary Petition for Non-lndivlduals Filing for Bankruptcy
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                 Olam Erirergy Reeouroes I LLC                                                    Oac€,numbar i(r,roawnl
Dcbtor



n Wtryls tfie crseflsd in,frls       'GficElk   sI tlF,t apply:
    dts,#lQ                         'El   Debtor has fiad its dornlclle, prlnclpal plaoe ol buSnese, q principal ,as6ets ln {hb dhfild for 180 days
                                          flmmedlately procsdlng lhe date of lhls peilltlon ,or for a longer part of suoh 180 day8 'than 'ln my othsr
                                          dlstrlc{.

                                     d    e t**trpt"ycaso ooftcernlng debtor's affilbtq geneal partner.               d    parfilelqhip      b pqr$ng   an   thls   dstict


rz. Does tte debtor ourn or have     Eltto
   possesSlon Of any rcal            El yes. Ansr,rer      b€low for   eaci property that needs immedlate atlention. Attach additlonal sheelg lf needed.
   property or personal Property
   that needs immediate                          Why does the property nesd lmmedlatE attentlon? (cheok                    ail hat apf/v.,
   attEntion?
                                                 E    tt poses or is alleged to pose a threat of imminent and identlflable hazard to public health or safety

                                                      What is the hazard?

                                                 E    lt needs to be physically secured or protected lrom the weather'

                                                 E    lt lncludes perishable goods or assets that could quickly deterlorate or lose value without
                                                      altenlion fbr example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                      assets or other oPtions).

                                                 E    omer



                                                 Where is tho property?
                                                                                Number           Slreot




                                                                                any                                                    State        ZIP Code



                                                 ls the property lnsurod?
                                                 Eruo
                                                 E    Yes. lnsurancs agsncy

                                                            Contact nam6


                                                            Phon€




           Statlstlcal and admtnl3tratlve lnforrnatlon


rg. Debior's estimatlon of           Check one:
    available funds                  El   Funds will be available for distribution to unsecured credltors'
                                     E    After any administralive expenses are paid, no funds will be available for dislribution to unsecured creditors


                                     El   t-es                              D    r,ooo-s,ooo                                 El es,oor-so,ooo
rc. Estlmated number of              0 so-ss                                E    s,oot-to,ooo                                E    so,oot-roo,ooo
    creditors                        E roo-tgs                              E    to,oot-zs,ooo                               E    More than 100,000
                                     E    zoo-sss

                                     E    $o-$so,ooo                        0    $t,ooo,oot-$10 mittion                      E    $soo,ooo,oo1-gl bilion
te. Estlmated aesets                 E    $so,oot-$too,ooo                  El $to,ooo,oot-$Eo      mittion                  E    $t,ooo,ooo,oo1-$10 bittion
                                     El   $too,oot-$soo,ooo                 E    $so,ooo,oot-$1oo mittion                    E    $r o,ooo,ooo,oo1-$50 bittion
                                     E    $soo,oot-$t mitlion               E    $t oo,ooo,ool-$soo mittion                  fl   More than $50 billion




                                           Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                 page 3
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                   Nam

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{6.   Esffimettdllablltiq                     El   $so,oot-$too,ooo                o   $t o,ooo,ot-$50,rmlllhn                   El   g"t;ooo,mo.,oo1-${o uillion

                                              El orso,ool-$soo,ooo                 B   oso,ooo,oot -$i00'rmillisn                El w.qooo,ooo,fl )l-$Eo blllion
                                              El $soo;got-$t mittion               E $t oo,oos"ool-$s0o m6l1id;r                 D    aturefian$cofriltlon




              Roquort lor Rellef, Declaretlonr rnd Slgneturst

                                                                                                wlth a bankruptcy case can result ln fines rs lo
WARNING        -    Bankruplcy fiaud l3 a serious crim€. Making a false statement in connection
                    $500,000orimprl8onmenlforupto20yearg,orbolh.lsU,s,c.ssl52'1341'1519'and3571.

                                                                                                                                                         in lhis
rz. Declaration and signature of              r     The debtor requests rellef ln accordance with the chapter of title 11, United States Code, specilied
    authorlzed rspresentative of                    petltion'
      debtor
                                              I     I have been suthorized     lo filethis petition on behalfofthe debtor'

                                               r    I have examined the information in this petition and have a reasonable belief thal
                                                                                                                                       the information is true and

                                                    correct.


                                               I declare under penalty of perjury that the foregoing is true and correct'


                                                    Executod on
                                                                   MM

                                               ,C                                                                   Mark A. Siffin

                                                    Slgnature of                                                  Pdnted name


                                                    Title       Authorized Signatory




 re. Slgnature of attorneY                     x                /s/ Robert J. Dehney                              Date
                                                                                                                                1012312019

                                                    Signalure of atlornsy lor deblor
                                                                                                                               MM     /DD /YYYY


                                                      Robert J. DehneY
                                                    Printed namg
                                                       Morris, Nichols, Arsht & Tunnell LLP
                                                    Firm namc
                                                     1201 N. Market Street
                                                    Numbor          street
                                                                                                                         DE              1   9899-1 347
                                                                                                                      State            ZIP Code


                                                       302-058-9200                                                           rdehney@mnat.com
                                                                                                                      Emall eddress
                                                    Contact phono



                                                            3578                                                         DE
                                                    Bar number




                                                                                                                                                          pag6 4
      Offlcial Form 201                               Voluntary Petltion for Non-lndividuals Fillng for Bankruptcy
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                                               ANNEX      1


                                      AFFILIATED ENTTTIES

         Each of the afffiliated eirtities listed below (including the dekor in this chapter t    I   oas€)


have filed or wilt file a petition for relief under chapter 11 of title t   I of the United   States Code in


the United States Bankruptcy Court for the District of Delaware.


    l.   MTE Holdings LLC; CaseNo. 19-12269 (KBO) (Bankr. D. Del) (Chapter ll Petition
         Filed October22,2019)

    2.   MTE Partners LLC
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                                     RESOI"UTIONS OF'
                               TIIE MANAGING MEMBtr,R OF
                             OLAM SNERCT RESOT]RCE"S I LLC

                                          October 2312019

         On October 23,2O19, MTE Olam Holdings LLC (the*Managing bfembef"), themanaging
me,rnber of Olam Energy Resources I LLC (the "Company"), took the following actions and
adopted the following resolutions in accordance with (i) the applicable governing law of Delawarg
(ii) the limited liability company operating agreement of the Company, and (iii) the certificate of
formation of the Company.

                    Authorization to Commence Chapter 11 Proceedines:
                 Authorization to Emplov and Retain Requisite Professionals

       WHEREAS, the Managing Member of the Company has reviewed and analyzed the
materials presented by the Company's management and the Company's legal advisors and has
held vigorous discussions (including with management and such advisors) regarding such
materials and the liabilities of the Company, the short- and long-term prospects of the Company,
the restructuring and strategic alternatives available to the Company, and the impact of the
foregoing on the Company's business and operations and has consulted with management and the
Company's legal advisors regarding the above; and

        WHEREAS, the Managing Member of the Company has determined that it is necessary
advisable and in the best interests of the Company, its creditors, members and other interested
parties, and necessary and convenient to the puq)ose, conduct, promotion, or attainment of the
business and affairs of the Company, that apetition be filed by the Company seeking relief under
chapter 11 of title 11 of the United States Code (the "Bankruptcy Code") and that the Company
undertake related actions.

NOW THEREFORE BE IT:

         RESOLVED, that the Managing Member of the Company, in its best judgment, and after
consultation with management and the Company's legal advisors, has determined that it is
desirable and in the best interests of the Company, its creditors, members and other interested
parties that a voluntary petition for relief under chapter 11 of the Bankruptcy Code be filed and
directs that the Company file or cause to be filed a voluntary petition for relief under chapter 11 of
the Bankruptcy Code;

       RESOLVED FURTHER, that the "Authorized Officer" referenced in these resolutions
shall be Mark A. Siffin;

        RESOLVED FURTHER, that the Authorized Officer of the Company, be, and hereby is,
authorized and empowered on behalf of, and in the rurme of, the Company to execute and verify
or certify a petition under chapter l l of the Bankruptcy Code and to cause the same to be filed in
the United States Bankruptcy Court for the District of Delaware at such time as such officer shall
determine;
               Case 19-12273-KBO         Doc 1     Filed 10/23/19     Page 7 of 10



        RESOLVED FURTTIE& thd ths ztuthmized Offiq of,the C.oupany be, and hereby is,
autfuorizod,ud anpowered on behalfo{ and in the name of, the Cornpmyto execeffe and file all
pleadings, sche&fles, lists" and other papers, and to take any anil all ac,tio,ns ffiat such offca may
d€€rn neccssary or p(op€,r in coruaection with the foregoing resolutions;

       RESOLVED FURTHER" that the Authorized Offics be" and hereby is, ailfhorized and
ernpowered on behalf of and in the name of, the Company to eirgage the law firm of Kasowitz
Benson Torres LLP {*Kasowitt) as general bankruptcy counsel to reprcseirt and assist the
Company in carrying out its duties under the Bankruptcy Code and to take any and all actions to
advance the Company's rights and interests, including filing any pleadings and making any filings
with regulatory agencies or other governmental authorities; and, in connection therewith, the
Authorized Officer be, and hereby is, authorized and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and after the filing of the Company's chapter l l
case, and cause to be filed an appropriate application for authority to retain the services of
Kasowitz;

        RESOLVED FURTHER, that the Authorized Officer of the Company be, and hereby is,
authorized and empowered on behalf of, and in the name of the Company to engage the law firm
of Morris, Nichols, Arsht & Tunnell LLP (*MNAT') as Delaware counsel to represent and assist
the Company in carrying out its duties under the Bankruptcy Code and to take any and all actions
to advance the Company's rights and interests, including filing any pleadings and making any
filings with regulatory agencies or other govemmental authorities; and, in connection therewith,
the Authorized Officer of the Company be, and hereby is, authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and after the filing of the
Company's chapter I I case, and cause to be filed an appropriate application for authority to retain
the services of MNAT; and

        RESOLVED FURTHER, that the Authorized Officer of the Company be, and hereby is,
authorized and empowered on behalf of, and in the rurme of, the Company to engage any other
professionals as deemed necessary or appropriate in his sole discretion to assist the Company in
carrying out its duties under the Bankruptcy Code, including executing appropriate retention
agreements, paylng appropriate retainers prior to or after the filing of the Company's chapter 11
case, and filing appropriate applications for authority to retain the services of any other
professionals as the Authorized Officer shall in his sole discretion deem necessary or desirable.

                                              General

        RESOLVED FURTHER, that the Authorized Offrcer of the Company be, and hereby is,
authorized and empowered on behalf of, and in the name of, the Company to (i) take or cause to
be taken any and all such further actions and to prepare, execute and deliver or cause to be
prepared, executed and delivered and, where necessary or appropriate, file or cause to be filed with
the appropriate governmental authorities, all such necessary or appropriate instruments and
documents, (ii) incur and pay or cause to be paid all fees and expenses associated with or arising
out of the actions authorized herein, and (iii) engage such persons as the Authorized Officer shall
in his sole discretion deem necessary or desirable to carry out fully the intent and purposes of the
foregoing resolutions and each of the transactions contemplated thereby, such determination to be
conclusively established by the taking or causing of any such further action;
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        RESOLVED FURTIIE& that all lawful actions of any kind taken prior to the date hereof
by fae Autlrodzd Officer, or any person or persons designat€d or subsoquurtly authorized tfi ad
by frre Autroriz€d Offrcer, wtdch ac,ts would have been authoriized by the           resolutions,
exoept thd such acts were takm   prior  to the adoption of such r,esolutiong are hereby serrerally
ratifie{ oonfirmod, approved and adopted as acts of the Compan56
       RESOLVED FURTHE& that the signature of the Authorizod Officer of,the Cornpany on
any docurnent instnmren! certificate, agreernent or other writing shall constifute conclusive
evidence that such officer deemed such act orthing to be necessary, advisable or appropriate; and

       RESOLVED FURTHER, that the Authorized Officer of the Company be, and hereby is,
authorized and empowered to ceftiry and to furnish such copies of these resolutions as may be
necessary and such statements of incumbency of the corporate officers of the Company as may be
requested.

                                        ,1.{.*!f*d€:f*:F
                                 Case 19-12273-KBO                      Doc 1            Filed 10/23/19                Page 9 of 10




 D€btorfilarilrc
                         Olarn Enerrgy Resour.ces,l LLC

        ild st{ljsi Bankruptry,Gotitttforthc:                             Distrid ot    Delaware
 Lrfi
                                                                                       iffi
 Ca       nurfihGr(,zknam):




Ofiicial Form2O2
Declaration Under Penalty of Periury for Non-lndividual Debtors                                                                                           1?,15

An lndividual who ls authorized to act on behalf of a non-indlvidual debtor, such as a corporatlon or pailneehlp, must slgn and submit
thls fom for the schedules of asseb and llablllties, any othsr document that requirer a declaratlon that ls not included ln the document,
and any amendments of those documents. Thls form must state the individual's posltlon or relatlonehip to the debtor, the identity of the
document, and the date, Bankruptcy Rules 1008 and 9011.
WARNING    - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or propetty by fraud in
connectlon wlth a bankruptcy case can result in fines up to $500,000 or imprlsonment for up to 20 years, or both. 18 U.S.C. SS 152, 1341,
1519, and 3571.



                 Declaration and signature


             I am the president, anotherofiic€r, oran authorized agentofthe corporation; a memberoran authorized agentofthe partnership; or
             another individual serving as a representative of the debtor in this case.

             I have   examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             E      Sdreau/" A/Bj Assets-Re al and Personal Property (Olficial Form 2064/8)

             E      Scnedu/e D: Creditors Who Have Ctaims Secured by Propefty (olfrcial Form 206D)

             D      Scnedu/e E/F: Creditors Who Have tJnsecured C/alms (Official Form 206E/F)

             E      Sctedule G: Executory Contracts and lJnexpired Leases (Official Form 206G)

             D      scredute H: codebtors(official Form 206H)

             Q      Sur^ary    of Assefs and Liabilities for Non-tndividuals (Ofiicial Form 206sum)

             E      Amended Schedute


             E      Cnapterll orChapterg        Cases:Lr'sf of CreditorsWhoHavethe20LargestunsecuredClaimsandAreNof              /nslders(Ofiicial Form204)


             E      Other document that requires a declaration




            I   declare under penal$ of perjury that the foregoing is true and conect.


            Executed     on   1012312019                         ,C
                              MM/DD/YYYY                              Signature of individual signing on behalf of debtor



                                                                         Mark A. Siffin
                                                                      Printed name

                                                                         Authorized Signatory
                                                                      Position or relationship lo deblor




Official Form 202                                 Declaration Under Penalty of Perjury for Nonlndividual Debtors
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               Oeblornarne            01am                .Resources l'LLC

               tlnited Silatcs BEr kruptcy,Gourl tur iltle:                                 Dislrict of     Delaware

               Oase nurnber (ff known):
                                                                                                          Ctate)
                                                                                                                                                                       E   Cnec*ifmisiisan
                                                                                                                                                                           arnended fiiti,ng




            Official Form 204
            Ghapter 11 or Ghapter 9 Gasesr List of Greditors Who Have the 2O Largest
            Unsecured Glaims and Are Not lnsiders                                                                                                                                     12t15

            A list of crcditors holding the 20 largest unsecured claims must be filed in a Ghapter 1t or Chapter g case. lnclude claims which the debtor
            disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. S 101(31). Also, do not include claims by
            secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
            largest unsecured claims.

     :
             Name of creditor and complete                        Name, telephone number,   and     Nature of the   claim lndicate if   Amount of unsecured claim
                                                                                     creditor
    a



             maillng address, including zlp code                  email address of                  (for example,trade    claim is      lf the claim is fully unsecured, fill in only unsecured
    :
                                                                  contact                           debts, bank loans,    contingent,   claim amount. lf claim is partially secured, fill in
    :

    :
                                                                                                    professional          unliquidated, total claim amount and deduction for value of
                                                                                                         and
                                                                                                    services,              ordisputed     collateral or setoff to calculate unsecured claim.
    :
                                                                                                    government
    :
                                                                                                    contracts)
    :


                                                                                                                                          Total claim,   if       Deductlon   for   Unsecurcd
    !                                                                                                                                     partially           :   valueof           claim
    a
                                                                                                                                          s6culBd                 collateral or
    :
                                                                                                                                                                  setofr
    :

    :1

    :
                       INone Currently]

    .

    i


        2
t                  [Due to the expedited nature of this filing, Debtor reserves right to amend/su                                  creditor ist.
:

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i

j
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I




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            Oflicial Form 204               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                                page   1
